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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CRIMINAL MINUTES — GENERAL
Case No: 23-MJ-6322 Date: December 12, 2023

Present: The Honorable Charles F. Eick, United States Magistrate Judge

Interpreter:
Valencia Munroe CourtSmart/ECRO Jason Gorn
Deputy Clerk Court Keporter / Kecorder Assistant U.S. Attorney
U.S.A. v. Defendant(s) Present Cust Bond Attorney(s) for Defendant(s): Present App Ret
Adam Ross Bregman x x Ijeoma Eike x

Proceedings: (IN CHAMBERS) MANDATORY RULE 5(f) ORDER

In accordance with the Due Process Protections Act, Pub. L. No. 116-182, 134 Stat. 894 (Oct.
21, 2020), the United States is ordered to produce all exculpatory evidence to the defendant under
Brady v. Maryland, 373 U.S. 83 (1963), and its progeny. Failing to do so in a timely manner may
result in exclusion of evidence, adverse jury instructions, dismissal of charges, contempt proceedings,
referral to a disciplinary authority and sanctions.

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